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  15
                                UNITED STATES DISTRICT COURT
  16
                           CENTRAL DISTRICT OF CALIFORNIA
  17
  18   ALBERT ALHADEFF, on behalf of              CASE NO.: 8:21-cv-00395-CJC-KES
  19   himself and all others similarly
       situated,
  20                                              CLASS ACTION

  21               Plaintiff,                     [PROPOSED] STIPULATED
  22                                              PROTECTIVE ORDER
       vs.
  23   EXPERIAN INFORMATION
  24   SOLUTIONS, INC.,

  25
  26                        Defendant.
  27
  28
                                                    [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 8:21-cv-00395-CJC-KES
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   1   1.    PURPOSES AND LIMITATIONS
   2         Disclosure and discovery activity in this action is likely to involve production
   3   of confidential, proprietary, or private information for which special protection from
   4   public disclosure and from use for any purpose other than prosecuting this litigation
   5   may be warranted. Accordingly, the Parties hereby stipulate to and petition the Court
   6   to enter the following Stipulated Protective Order. The Parties acknowledge that this
   7   Order does not confer blanket protections on all disclosures or responses to discovery
   8   and that the protection it affords from public disclosure and use extends only to the
   9   limited information or items that are entitled to confidential treatment under the
  10   applicable legal principles. The Parties further acknowledge, as set forth in Section
  11   13.3, below, that this Stipulated Protective Order does not entitle them to file
  12   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
  13   that must be followed and the standards that will be applied when a Party seeks
  14   permission from the court to file material under seal.
  15   2.    GOOD CAUSE STATEMENT
  16         Good cause exists for entry of this Stipulated Protective Order because this
  17   action is likely to involve the exchange of confidential and proprietary information,
  18   including information relating to trade secrets, confidential research, marketing, cost,
  19   price, technical, or other commercial information, as is contemplated by Federal Rule
  20   of Civil Procedure 26(c)(1)(G).      The protection of this information is vital to
  21   protecting the Parties’ business competition interests and intellectual property
  22   interests. Moreover, private information of third parties may also be disclosed. The
  23   unrestricted or unprotected disclosure of such private business and/or financial
  24   information would result in prejudice or harm to the Producing Party and third parties
  25   by revealing their information which could result in the loss of business and/or a
  26   violation of federal and state privacy laws.
  27         Accordingly, to facilitate the prompt resolution of disputes over confidentiality
  28   of discovery materials, to adequately protect information the Parties are entitled to
                                                       [PROPOSED] STIPULATED PROTECTIVE ORDER
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   1   keep confidential, to ensure that the Parties are permitted reasonable necessary uses
   2   of such material in preparation for and in the conduct of trial, to address their handling
   3   at the end of the litigation, and serve the ends of justice, a protective order for such
   4   information is justified in this matter. It is the intent of the Parties that information
   5   will not be designated as confidential for tactical reasons and that nothing be so
   6   designated without a good faith belief that it has been maintained in a confidential,
   7   non-public manner, and there is good cause why it should not be part of the public
   8   record of this case.
   9   3.     DEFINITIONS
  10          3.1    Action: Albert Alhadeff v. Experian Information Solutions, Inc. et al.,
  11   No. 8:21-cv-00395-CJC-KES
  12          3.2    Challenging Party: a Party or Non-Party that challenges the designation
  13   of information or items under this Order.
  14          3.3    “CONFIDENTIAL” Information or Items: information (regardless of
  15   how it is generated, stored or maintained) or tangible things that qualify for protection
  16   under Federal Rule of Civil Procedure 26(c).
  17          3.4    Counsel: Outside Counsel of Record and In House Counsel (as well as
  18   their support staff).
  19          3.5    Designating Party: a Party or Non-Party that designates information or
  20   items that it produces in disclosures or         in    responses       to    discovery      as
  21   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  22   ONLY.”
  23          3.6    Disclosure or Discovery Material: all items or information, regardless
  24   of the medium or manner in which it is generated, stored, or maintained (including,
  25   among other things, testimony, transcripts, and tangible things), that are produced or
  26   generated in disclosures or responses to discovery in this matter.
  27          3.7    Expert: a person with specialized knowledge or experience in a matter
  28   pertinent to the litigation who has been retained by a Party or its counsel to serve as
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   1   an expert witness or as a consultant in this Action.
   2         3.8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
   3   Information or Items:     sensitive Confidential Information or Items that are so
   4   commercially sensitive that the disclosure to another Party or Non-Party, even under
   5   the restrictive terms applicable to Confidential Information, would create a
   6   substantial risk of harm that could not be avoided by less restrictive means.
   7         3.9    In House Counsel: attorneys who are employed by a party to this
   8   Action.
   9         3.10 Non-Party: any natural person, partnership, corporation, association, or
  10   other legal entity not named as a Party to this action.
  11         3.11 Outside Counsel of Record: attorneys who are not employees of a
  12   party to this Action but are retained to represent or advise a party to this Action and
  13   have appeared in this Action on behalf of that party or are affiliated with a law firm
  14   which has appeared on behalf of that party, and includes support staff.
  15         3.12 Party: any party to this Action, including all of its officers, directors,
  16   employees, consultants, retained experts, and Outside Counsel of Record (and their
  17   support staffs).
  18         3.13 Producing Party: a Party or Non-Party that produces Disclosure or
  19   Discovery Material in this Action.
  20         3.14 Professional Vendors: persons or entities that provide litigation support
  21   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  22   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  23   and their employees and subcontractors.
  24         3.15 Protected Material: any Disclosure or Discovery Material that is
  25   designated    as   “CONFIDENTIAL”           or      “HIGHLY         CONFIDENTIAL            –
  26   ATTORNEYS’ EYES ONLY.”
  27         3.16 Receiving Party: a Party that receives Disclosure or Discovery Material
  28   from a Producing Party.
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   1    4.      SCOPE
   2            The protections conferred by this Stipulated Protective Order cover not only
   3   Protected Material (as defined above), but also (1) any information copied or
   4   extracted from Protected Material; (2) all copies, excerpts, summaries, or
   5   compilations of Protected Material; and (3) any testimony, conversations, or
   6   presentations by Parties or their Counsel that might reveal Protected Material.
   7   However, the protections conferred by this Stipulated Protective Order do not cover
   8   the following information: (a) any information that is in the public domain at the time
   9   of disclosure to a Receiving Party or becomes part of the public domain after its
  10   disclosure to a Receiving Party as a result of publication not involving a violation of
  11   this Order, including becoming part of the public record through trial or otherwise;
  12   and (b) any information known to the Receiving Party prior to the disclosure or
  13   obtained by the Receiving Party after the disclosure from a source who obtained the
  14   information lawfully and under no obligation of confidentiality to the Designating
  15   Party.
  16            Any use of Protected Material at trial shall be governed by the orders of the
  17   trial judge. This Order does not govern the use of Protected Material at trial.
  18   5.       DURATION
  19            Even after final disposition of this litigation, the confidentiality obligations
  20   imposed by this Order shall remain in effect until a Designating Party agrees
  21   otherwise in writing or a court order otherwise directs. Final disposition shall be
  22   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  23   or without prejudice; and (2) final judgment herein after the completion and
  24   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  25   including the time limits for filing any motions or applications for extension of time
  26   pursuant to applicable law.
  27   6.       DESIGNATING PROTECTED MATERIAL
  28            6.1   Exercise of Restraint and Care in Designating Material for Protection.
                                                         [PROPOSED] STIPULATED PROTECTIVE ORDER
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   1         Each Party or Non-Party that designates information or items for protection
   2   under this Order must take care to limit any such designation to specific material that
   3   qualifies under the appropriate standards. To the extent it is practical to do so, the
   4   Designating Party must designate for protection only those parts of material,
   5   documents, items, or oral or written communications that qualify so that other
   6   portions of the material, documents, items, or communications for which protection
   7   is not warranted are not swept unjustifiably within the ambit of this Order.
   8         Mass, indiscriminate, or routinized designations are prohibited. Designations
   9   that are shown to be clearly unjustified or that have been made for an improper
  10   purpose (e.g., to unnecessarily encumber the case development process or to impose
  11   unnecessary expenses and burdens on other parties) may expose the Designating
  12   Party to sanctions.
  13         If it comes to a Designating Party’s attention that information or items that it
  14   designated for protection do not qualify for protection, that Designating Party must
  15   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  16         6.2    Manner and Timing of Designations. Except as otherwise provided in
  17   this Order (see, e.g., second paragraph of section 6.2(a) below), or as otherwise
  18   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  19   under this Order must be clearly so designated before the material is disclosed or
  20   produced.
  21         Designation in conformity with this Order requires:
  22                (a)      for information in documentary form (e.g., paper or electronic
  23   documents, but excluding transcripts of depositions or other pretrial or trial
  24   proceedings), that the Producing Party affix at a minimum, the legend
  25   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  26   ONLY” to each page that contains Protected Material. If only a portion or portions
  27   of the material on a page qualifies for protection, the Producing Party also must
  28   clearly identify the protected portion(s) (e.g., by making appropriate markings in the
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   1   margins).
   2         A Party or Non-Party that makes original documents available for inspection
   3   need not designate them for protection until after the inspecting Party has indicated
   4   which documents it would like copied and produced. During the inspection and
   5   before the designation, all of the material made available for inspection shall be
   6   deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
   7   inspecting Party has identified the documents it wants copied and produced, the
   8   Producing Party must determine which documents, or portions thereof, qualify for
   9   protection under this Order. Then, before producing the specified documents, the
  10   Producing Party must affix the appropriate legend (“CONFIDENTIAL” or
  11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that
  12   contains Protected Material. If only a portion or portions of the material on a page
  13   qualifies for protection, the Producing Party also must clearly identify the protected
  14   portion(s) (e.g., by making appropriate markings in the margins) and must specify,
  15   for each portion, the level of protection being asserted.
  16         (b)    for testimony given in depositions that the Designating Party identify
  17   the Disclosure or Discovery Material as “CONFIDENTIAL” or “HIGHLY
  18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” in whole or in part, either (i) on
  19   the record during the deposition or (ii) within thirty (30) days after the deposition. If
  20   a Party intends to designate testimony as “CONFIDENTIAL” or “HIGHLY
  21   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” following the deposition
  22   pursuant to (ii), that Party shall state its intention on the record during the deposition.
  23   If a Party states its intention to designate testimony as “CONFIDENTIAL” or
  24   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” following the
  25   deposition pursuant to (ii), then the entirety of the deposition transcript shall be
  26   treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” to permit
  27   counsel to designate the deposition testimony, or portions thereof, as Protected
  28   Material. If designation is made during the 30-day period after the deposition, all
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   1   Parties in possession of the transcript at the time of receiving the designation or
   2   thereafter shall place the label “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL
   3   – ATTORNEYS’ EYES ONLY,” on the front cover of the transcript, on each or all
   4   of the exhibits and/or pages so designated, and on each copy thereof upon notice that
   5   the confidential designation has been made. In the event that a Party needs to file a
   6   deposition transcript with the Court prior to the expiration of the thirty (30) day
   7   period set forth above, that entire transcript shall be treated as if it had been
   8   designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
   9         (c)    for information produced in some form other than documentary and for
  10   any other tangible items, that the Producing Party affix in a prominent place on the
  11   exterior of the container or containers in which the information is stored the legend
  12   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  13   ONLY.” If only a portion or portions of the information warrants protection, the
  14   Producing Party, to the extent practicable, shall identify the protected portion(s).
  15         6.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
  16   failure to designate qualified information or items does not, standing alone, waive
  17   the Designating Party’s right to secure protection under this Order for such material.
  18   Upon timely correction of a designation, the Receiving Party must make reasonable
  19   efforts to assure that the material is treated in accordance with the provisions of this
  20   Order.
  21   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  22         7.1    Timing of Challenges. Any Party or Non-Party may challenge a
  23   designation of confidentiality at any time that is consistent with the Court’s
  24   Scheduling Order. Unless a prompt challenge to a Designating Party’s confidentiality
  25   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary
  26   economic burdens, or a significant disruption or delay of the litigation, a Party does
  27   not waive its right to challenge a confidentiality designation by electing not to mount
  28   a challenge promptly after the original designation is disclosed.
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   1         7.2    Meet and Confer. The Challenging Party shall initiate the dispute
   2   resolution process under Local Rule 37-1 et seq.
   3         7.3    The burden of persuasion in any such challenge proceeding shall be on
   4   the Designating Party. Frivolous challenges, and those made for an improper purpose
   5   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
   6   expose the Challenging Party to sanctions. Unless the Designating Party has waived
   7   or withdrawn the confidentiality designation, all Parties shall continue to afford the
   8   material in question the level of protection to which it is entitled under the Producing
   9   Party’s designation until the Court rules on the challenge.
  10   8.    ACCESS TO AND USE OF PROTECTED MATERIAL
  11         8.1    Basic Principles. A Receiving Party may use Protected Material that is
  12   disclosed or produced by another Party or by a Non-Party in connection with this
  13   Action only for prosecuting, defending, or attempting to settle this Action. Such
  14   Protected Material may be disclosed only to the categories of persons and under the
  15   conditions described in this Order.       When the Action has been terminated, a
  16   Receiving Party must comply with the provisions of section 14 below (FINAL
  17   DISPOSITION).
  18         Protected Material must be stored and maintained by a Receiving Party at a
  19   location and in a secure manner that ensures that access is limited to the persons
  20   authorized under this Order.
  21         8.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  22   otherwise ordered by the court or permitted in writing by the Designating Party, a
  23   Receiving    Party    may      disclose   any     information      or    item    designated
  24   “CONFIDENTIAL” only to:
  25         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
  26   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  27   to disclose the information for this Action;
  28         (b)    the officers, directors, employees, and In House Counsel of the
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    1   Receiving Party to whom disclosure is reasonably necessary for this Action;
    2         (c)    Experts (as defined in this Order) of the Receiving Party to whom
    3   disclosure is reasonably necessary for this Action and who have signed the
    4   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    5         (d)    the court and its personnel;
    6         (e)    court reporters and their staff; professional jury or trial consultants,
    7   mock jurors, and Professional Vendors to whom disclosure is reasonably necessary
    8   for this Action and who have signed the “Acknowledgment and Agreement to Be
    9   Bound” (Exhibit A);
   10         (f)    the author or recipient of a document containing the information or a
   11   custodian or other person who otherwise possessed or knew the information;
   12         (g)    during their depositions, witnesses in the action to whom disclosure is
   13   reasonably necessary, unless otherwise agreed by the Designating Party or ordered
   14   by the Court.
   15         (h)   any mediator or settlement officer, and their supporting personnel,
   16   mutually agreed upon by any of the Parties engaged in settlement discussions.
   17         8.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   18   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted
   19   in writing by the Designating Party, a Receiving Party may disclose any Protected
   20   Material designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
   21   only to:
   22         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
   23   as employees of said Outside Counsel of Record to whom it is reasonably necessary
   24   to disclose the information for this Action;
   25         (b)    In House Counsel of the Receiving Party to whom it is reasonably
   26   necessary to disclose the information for this Action;
   27         (c)    Experts of the Receiving Party to whom it is reasonably necessary to
   28   disclose the information for this Action and who have signed the “Acknowledgment
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    1   and Agreement to Be Bound” (Exhibit A). The right of any Expert, including support
    2   staff employed by such expert, to receive confidential information designated
    3   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” will be subject to the
    4   advance approval of such expert by the Producing Party or by permission of the
    5   Court. The Party seeking approval of an Expert to access such confidential
    6   information must provide the Producing Party with the name and curriculum vitae of
    7   the Expert. Any objection by the Producing Party to an Expert receiving confidential
    8   information designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    9   ONLY” must be made in writing within seven (7) days following receipt of the
   10   identification of the Expert to whom access is proposed. “HIGHLY
   11   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information may be disclosed to
   12   an Expert if the seven (7) day period has passed and no objection has been made. The
   13   approval of Experts access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   14   ONLY” information must not be unreasonably withheld;
   15         (d)   the Court and its personnel;
   16         (e)   court reporters and their staff, professional jury or trial consultants,
   17   mock jurors, and Professional Vendors to whom disclosure is reasonably necessary
   18   for this litigation and who have signed the “Acknowledgment and Agreement to Be
   19   Bound” (Exhibit A);
   20         (f)   the author or recipient of a document containing the information or a
   21   custodian or other person who otherwise possessed or knew the information; and
   22         (g)   during their depositions, witnesses in the action to whom disclosure is
   23   reasonably necessary, unless otherwise agreed by the Designating Party or ordered
   24   by the Court.
   25         (h)   any mediator or settlement officer, and their supporting personnel,
   26   mutually agreed upon by any of the Parties engaged in settlement discussions.
   27         Notwithstanding the foregoing, the parties recognize that it may be desirable
   28   to permit certain summary financial or other information derived from Discovery
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    1   Material designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    2   ONLY” to be considered by the Receiving Party for purposes of mediation and/or
    3   settlement negotiations. Accordingly, should Counsel for the Receiving Party believe
    4   that it would be beneficial to review certain “HIGHLY CONFIDENTIAL –
    5   ATTORNEYS’ EYES ONLY” Discovery Material with a person identified in
    6   Section 8.2(b), Counsel may request permission from Counsel for the Designating
    7   Party by disclosing, in writing, the particular document or information sought to be
    8   disclosed and the person(s) identified in Section 8.2(b) to whom the information is
    9   to be disclosed. Counsel for the Designating Party shall not unreasonably withhold
   10   such permission. Upon receipt of written authorization of Counsel for the
   11   Designating Party, but not otherwise, Counsel for the Receiving Party may review
   12   the identified Discovery Material with the identified person(s).
   13           Any Discovery Material authorized to be disclosed to person(s) identified in
   14   Section 8.2(b) pursuant to this Section shall remain designated “HIGHLY
   15   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under this Protective Order and
   16   all of the remaining provisions of this Protective Order shall remain applicable to
   17   them.
   18           8.4   Counseling. This order does not bar an attorney, in rendering advice to
   19   the attorney’s client with respect to this action, from conveying in a general way to a
   20   client representative the attorney’s evaluation of “CONFIDENTIAL” and/or
   21   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information,
   22   including potential damages information, that such client representative is prohibited
   23   from receiving.
   24   9.      PROTECTED          MATERIAL          SUBPOENAED              OR      ORDERED
   25   PRODUCED IN OTHER LITIGATION
   26           If a Party is served with a subpoena or a court order issued in other litigation
   27   that compels disclosure of any information or items designated in this Action as
   28   “CONFIDENTIAL” or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
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    1   ONLY,” that Party must:
    2         (a)    promptly notify in writing the Designating Party. Such notification shall
    3   include a copy of the subpoena or court order;
    4         (b)    promptly notify in writing the party who caused the subpoena or order
    5   to issue in the other litigation that some or all of the material covered by the subpoena
    6   or order is subject to this Protective Order. Such notification shall include a copy of
    7   this Stipulated Protective Order; and
    8         (c)    cooperate with respect to all reasonable procedures sought to be pursued
    9   by the Designating Party whose Protected Material may be affected. If the
   10   Designating Party timely seeks a protective order, the Party served with the subpoena
   11   or court order shall not produce any information designated in this action as
   12   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   13   ONLY” before a determination by the court from which the subpoena or order issued,
   14   unless the Party has obtained the Designating Party’s permission. The Designating
   15   Party shall bear the burden and expense of seeking protection in that court of its
   16   confidential material and nothing in these provisions should be construed as
   17   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   18   directive from another court.
   19   10.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   20   PRODUCED IN THIS LITIGATION
   21         (a)    The terms of this Order are applicable to information produced by a
   22   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
   23   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
   24   Non-Parties in connection with this litigation is protected by the remedies and relief
   25   provided by this Order. Nothing in these provisions should be construed as
   26   prohibiting a Non-Party from seeking additional protections.
   27         (b)    In the event that a Party is required, by a valid discovery request, to
   28   produce a Non-Party’s confidential information in its possession, and the Party is
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1   subject to an agreement with the Non-Party not to produce the Non-Party’s
    2   confidential information, then the Party shall:
    3                (1)    promptly notify in writing the Requesting Party and the Non-
    4   Party that some or all of the information requested is subject to confidentiality
    5   agreement with a Non-Party;
    6                (2)    promptly provide the Non-Party with a copy of the Stipulated
    7   Protective Order in this Action, the relevant discovery request(s), and a reasonably
    8   specific description of the information requested; and
    9                (3)    make the information requested available for inspection by the
   10   Non-Party, if requested.
   11         (c)    If the Non-Party fails to seek a protective order from this court within
   12   14 days of receiving the notice and accompanying information, the Receiving Party
   13   may produce the Non-Party’s confidential information responsive to the discovery
   14   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
   15   not produce any information in its possession or control that is subject to the
   16   confidentiality agreement with the Non-Party before a determination by the court.
   17   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
   18   of seeking protection in this court of its Protected Material.
   19   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   20         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   21   Protected Material to any person or in any circumstance not authorized under this
   22   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   23   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   24   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   25   persons to whom unauthorized disclosures were made of all the terms of this Order,
   26   and (d) request such person or persons to execute the “Acknowledgment                 and
   27   Agreement to Be Bound” that is attached hereto as Exhibit A.
   28   12.   INADVERTENT              PRODUCTION             OF         PRIVILEGED           OR
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1   OTHERWISE PROTECTED MATERIAL
    2         When a Producing Party gives notice to Receiving Parties that certain
    3   inadvertently produced material is subject to a claim of privilege or other protection,
    4   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
    5   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
    6   may be established in an e-discovery order that provides for production without prior
    7   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
    8   Parties reach an agreement on the effect of disclosure of a communication or
    9   information covered by the attorney-client privilege or work product protection, the
   10   Parties may incorporate their agreement in the stipulated protective order submitted
   11   to the court.
   12   13.   MISCELLANEOUS
   13         13.1 Right to Further Relief. Nothing in this Order abridges the right of any
   14   person to seek its modification by the Court in the future.
   15         13.2 Right to Assert Other Objections. By stipulating to the entry of this
   16   Protective Order no Party waives any right it otherwise would have to object to
   17   disclosing or producing any information or item on any ground not addressed in this
   18   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   19   ground to use in evidence of any of the material covered by this Protective Order.
   20         13.3 Filing Protected Material. A Party that seeks to file under seal any
   21   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   22   only be filed under seal pursuant to a court order authorizing the sealing of the
   23   specific Protected Material at issue. If a Party's request to file Protected Material
   24   under seal is denied by the court, then the Receiving Party may file the information
   25   in the public record unless otherwise instructed by the court.
   26   14.   FINAL DISPOSITION
   27         After the final disposition of this Action, as defined in paragraph 4, within 60
   28   days of a written request by the Designating Party, each Receiving Party must return
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1   all Protected Material to the Producing Party or destroy such material, at the
    2   Receiving Party’s option. As used in this subdivision, “all Protected Material”
    3   includes all copies, abstracts, compilations, summaries, and any other format
    4   reproducing or capturing any of the Protected Material. Whether the Protected
    5   Material is returned or destroyed, the Receiving Party must submit a written
    6   certification to the Producing Party (and, if not the same person or entity, to the
    7   Designating Party) by the 60 day deadline that affirms that the Receiving Party has
    8   not retained any copies, abstracts, compilations, summaries or any other format
    9   reproducing or capturing any of the Protected Material. Notwithstanding this
   10   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
   11   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
   12   deposition and trial exhibits, expert reports, attorney work product, and consultant
   13   and expert work product, even if such materials contain Protected Material. Any such
   14   archival copies that contain or constitute Protected Material remain subject to this
   15   Protective Order as set forth in Section 5 (DURATION).
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                                                   [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    2
        Dated: September 23, 2021            EDELSBERG LAW, PA
    3
    4
                                             By: /s/ Scott Edelsberg
    5                                            Scott Edelsberg
    6                                        Attorneys for Plaintiff
                                             ALBERT ALHADEFF
    7
    8
    9   Dated: September 23, 2021            JONES DAY
   10
   11                                        By: /s/ Ryan D. Ball
   12                                           Ryan D. Ball

   13                                        Attorneys for Defendant
                                             EXPERIAN INFORMATION
   14                                        SOLUTIONS, INC.

   15
   16
        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   17
   18
   19   DATED: September 23, 2021
   20
   21   _________________________________
   22   Honorable Karen E. Scott
        United States Magistrate Judge
   23
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   28
                                               [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                              Case No. 8:21-cv-00395-CJC-KES
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    1                                        EXHIBIT A
    2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3          I, _____________________________ [print or type full name], of
    4   ___________________________________________________________________
    5   [print or type full address], declare under penalty of perjury that I have read in its
    6   entirety and understand the Protective Order that was issued by the United States
    7   District Court for the Central District of California on ___________ [date] in the case
    8   of Albert Alhadeff v. Experian Information Solutions, Inc. et al., No. 8:21-cv-00395-
    9   CJC-KES. I agree to comply with and to be bound by all the terms of this Protective
   10   Order, and I understand and acknowledge that failure to so comply could expose me
   11   to sanctions and punishment in the nature of contempt. I solemnly promise that I will
   12   not disclose in any manner any information or item that is subject to this Protective
   13   Order to any person or entity except in strict compliance with the provisions of this
   14   Order.
   15          I further agree to submit to the jurisdiction of the United States District Court
   16   for the Central District of California for the purpose of enforcing the terms of this
   17   Protective Order, even if such enforcement proceedings occur after termination of
   18   this action.
   19          I hereby appoint __________________________ [print or type full name] of
   20   ____________________________________________ [print or type full address
   21   and telephone number] as my California agent for service of process in connection
   22   with this action or any proceedings related to enforcement of this Protective Order.
   23
   24   Date: _________________________________
   25   City and State where sworn and signed: _________________________________
   26
        Printed name: ______________________________
   27
   28   Signature: _________________________________
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1                             SIGNATURE CERTIFICATION
    2         I, Ryan D. Ball, hereby attest pursuant to Civil Local Rule 5-4.3.4 that all
    3   other signatories listed, and on whose behalf this filing is submitted, concur in the
    4   contents of this filing and have authorized the filing.
    5         Executed September 23, 2021, at Irvine, California.
    6
    7                                              /s/ Ryan D. Ball
                                                   Ryan D. Ball
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                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
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